


THE STATE OF SOUTH CAROLINA



THE STATE OF SOUTH CAROLINA
In The Court of Appeals


  
    
      
The State,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Respondent,
      
    
  

v.

  
    
      
Trayawn L. Burgess,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Appellant.
      
    
  


Appeal From Florence County
J. Michael Baxley, Circuit Court 
  Judge

Unpublished Opinion No. 2003-UP-428
Submitted April 18, 2003  Filed 
  June 24, 2003

APPEAL DISMISSED


  
    
      
Assistant Appellate Defender Tara S. Taggart, of Columbia, 
  for Appellant.
 Deputy Director for Legal Services Teresa A. 
  Knox, Legal Counsel Tommy Evans and Legal Counsel J. Benjamin Aplin, all of 
  Columbia, for Respondent.
      
    
  

PER CURIAM:&nbsp; Trayawn L. Burgess appeals 
  from an order of the trial court revoking his probation.&nbsp; The court found a 
  willful violation of probation and revoked five years of a ten-year sentence.&nbsp; 
  Burgess appellate counsel filed a brief pursuant to Anders v. California, 
  386 U.S. 738 (1967).&nbsp; Counsel additionally submitted a petition to be relieved 
  from representation, asserting there are no directly appealable issues of arguable 
  merit.&nbsp; Burgess did not file a pro se response with the Court.
After a review of the record pursuant to Anders 
  and State v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss 
  the appeal and grant counsels petition to be relieved. 
  [1] 
APPEAL DISMISSED.
CURETON, ANDERSON, and HUFF, JJ., concur.

 
   
    [1]  We decide this case without oral argument pursuant to Rule 215, SCACR.


